     Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 1 of 18 Page ID
                                      #:1374



 1
     CHAN YONG JEONG, ESQ. (SBN 255244)
      jeong@jeonglikens.com
 2   JEONG & LIKENS, L.C.
     222 South Oxford Avenue
 3
     Los Angeles, CA 90004
 4   Tel: 213-688-2001
     Email: Jeong@jeonglikens.com
 5
 6   Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
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10
11
12    NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13    INC., a California Corporation;
                                               DECLARATION OF ADRINEH
14              Plaintiff/Counter-Defendant,   MOKHTARIANS
15
                vs.
16
17    INTERFOCUS, INC., a California
      Corporation, et al.,
18               Defendant/Counter-Claimant
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                      DECLARATION OF ADRINEH MOKHTARIANS
     Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 2 of 18 Page ID
                                      #:1375



 1   I, ADRINEH MOKHTARIANS, declare:
 2     1. I am over 18 years of age and have personal knowledge of each fact stated in this

 3        declaration. If called upon to testify thereto as a witness, I can and will testify.

 4    2. I have the personal knowledge as to the manner of creation and maintenance of such

 5        business records. I hereby certify that the exhibits attached hereto have been created

 6
          and maintained in Plaintiff’s regular course of business, were made at or near the

 7
          time of the act, condition or event recorded therein, and therefore, are true and
          genuine.
 8
      3. I have graduated with BA degree from North East London Polytechnic in UK
 9
          in 1981. (presently known as North London University)
10
      4. I came to the U.S. right after the graduation, and worked in few textile studios as
11
          textile artist designer. During the time, the computer was not commonly used for
12
          designing works yet, and I painted everything by hand and put the patterns into
13
          repeat and color separate the designs.
14
      5. I started working for Neman Brothers in 1986 as textile artist designer, and painted
15
          many patterns by hand until 1989, then I decided to leave my position as full time
16
          and became freelance artist, but continued to work with Neman as a freelance artist.
17
      6. In 2007, I have joined back Neman Brothers as Full time designer / stylist in 2007
18
          and am still working for Neman Brothers to the present time.
19
      7. My present position at Neman is overseeing the design room, purchasing art works
20
          and direct cad artists to create patterns and coloring.
21
      8. Neman has filing drawers full of its own old hand painted art works and we often
22
          get elements from there.
23
      9. From time to time, the designers of Neman Brothers refer to the prior designs owned
24
          by Neman Brothers, and use them as inspiration or reference for new designs.
25
      10. In creating NB170268, I referred to the designs in Exhibits 43 and 44 as
26
          inspirations, and hand-drew to make the new motifs shown in Exhibit 45 which was
27
          scanned in as a design file, from which I created NB170268 shown in Exhibit 46.
28
          Exhibit 45 is a picture of my hand-drawing of the motifs, and Exhibit 46 is a



                      DECLARATION OF ADRINEH MOKHTARIANS
     Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 3 of 18 Page ID
                                      #:1376



 1
          screenshot of the NB170268 design file saved in our design folder of the Neman’s

 2
          CAD system.
      11. NB161106 is a modified version of the design Neman Brothers purchased from a
 3
          design studio called Francesco. Exhibit 47 is a picture of the purchased design.
 4
      12. We usually modified the designs from design studios to make it better and more
 5
          cost-efficient for massive production for which we separate, identify and simplify
 6
          the colors, and we also make some changes to make the design fit better to the
 7
          concepts we were pursuing in the certain seasons. For example, to the Francesco
 8
          design, we added small flowers, changed stems and leaves, rearranged the motifs,
 9
          changed the colors, which also changed the shapes of the motifs especially because
10
          the shapes of the flowers typically is made through coloring and shadings.
11
          NB161106 was made in 2002, which I could verify by seeing the design file name
12
          in our CAD system, which is 020110b.tif as shown in Exhibit 48. “02” is the year,
13
          and 01 is month, and 10 is a sequential number. The NB number is given when it is
14
          put into the MOD2 system which is for production. In other words, the NB number
15
          is made and the design is saved to the MOD system when we decides the design is
16
          in season for production, which was 2016 for NB161106.
17
      13. Exhibit 49 is a picture of the Francesco design and NB161106 hangers side-by-
18
          side, a closer look of which show the changes we made.
19
      14. I agree, acknowledge, and do not dispute, that all of the design works I made
20
          including NB170268 and NB161106 as an employee or freelancer were made as
21
          works for hire, and are owned by Neman Brothers.
22
23
     Under penalty of perjury under the laws of the State of California, I declare that the foregoing
24
     is true and correct.
25
     Dated: November 15, 2021                    Respectfully submitted by,
26
27
                                                 ________________________
28
                                                 Adrineh Mokhtarians



                       DECLARATION OF ADRINEH MOKHTARIANS
Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 4 of 18 Page ID
                                 #:1377
          Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 5 of 18 Page ID
                                           #:1378




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Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 6 of 18 Page ID
                                 #:1379
                     Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 7 of 18 Page ID
                                                      #:1380




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Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 8 of 18 Page ID
                                 #:1381
          Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 9 of 18 Page ID
                                           #:1382




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Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 10 of 18 Page ID
                                 #:1383
Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 11 of 18 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 12 of 18 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 71-2 Filed 11/16/21 Page 17 of 18 Page ID
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